8:05-cr-00163-LSC-TDT                 Doc # 343       Filed: 02/15/12    Page 1 of 1 - Page ID # 923



                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                         Plaintiff,               )
                                                  )                  8:05CR163
                vs.                               )
                                                  )                     ORDER
JAZMIN CERNA,                                     )
                                                  )
                         Defendant.               )

        Defendant Jazmin Cerna (Cerna) appeared before the court on February 15, 2012, on the
Amended Petition for Warrant or Summons for Offender Under Supervision (Petition) (Filing No. 338).
Cerna was represented by Assistant Federal Public Defender Julie B. Hansen and the United States was
represented by Assistant U.S. Attorney Thomas J. Kangior. Through her counsel, Cerna waived her right
to a probable cause hearing on the Petition pursuant to Fed. R. Crim. P. 32.1(a)(1). I find that the Petition
alleges probable cause and that Cerna should be held to answer for a final dispositional hearing before
Chief Judge Laurie Smith Camp.
        The government moved for detention. Through counsel, Cerna declined to present any evidence
or request a hearing on the issue of detention. Since it is Cerna’s burden under 18 U.S.C. § 3143 to
establish by clear and convincing evidence that she is neither a flight risk nor a danger to the community,
the court finds Cerna has failed to carry her burden and that Cerna should be detained pending a
dispositional hearing before Chief Judge Smith Camp.
        IT IS ORDERED:
        1.      A final dispositional hearing will be held before Chief Judge Laurie Smith Camp in
Courtroom No. 2, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha,
Nebraska, at 10:30 a.m. on March 15, 2012. Defendant must be present in person.
        2.      Defendant Jazmin Cerna is committed to the custody of the Attorney General or his
designated representative for confinement in a correctional facility;
        3.      Defendant shall be afforded a reasonable opportunity for private consultation with defense
counsel; and
        4.      Upon order of a United States court or upon request of an attorney for the government,
the person in charge of the corrections facility shall deliver defendant to the United States Marshal for the
purpose of an appearance in connection with a court proceeding.
        DATED this 15th day of February, 2012.

                                                           BY THE COURT:

                                                           s/Thomas D. Thalken
                                                           United States Magistrate Judge
